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                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

SUSAN SWANN, individually                )
and on behalf of all others              )
similarly situated,                      )
                                         )
      Plaintiff,                         )
                                         )                Civil Action No.:
v.                                       )               4:18-CV-1000-VEH
                                         )
DYNAMIC RECOVERY                         )
SOLUTIONS, LLC, et al,                   )
                                         )
      Defendants.                        )


I.    INTRODUCTION

      The Plaintiff, Susan Swann, on behalf of herself and a purported class of

similarly situated individuals, claims that Defendants Dynamic Recovery Services,

LLC (“DRS”) and Jefferson Capital Systems, LLC (“JCS”) violated the Fair Debt

Collection Practices Act, 15 U.S.C. §§ 1692-1692p (the “FDCPA”), when DRS sent

her a letter attempting to collect on a debt owed to JCS. (Doc. 1). The case comes

before the Court on the Motion to Dismiss, filed pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure, by DRS and JCS, for failure to state a claim upon

which relief may be granted. (Doc. 16). For the reasons stated herein, the motion will

be GRANTED and this case will be DISMISSED with prejudice.
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II.   STANDARD

      A Rule 12(b)(6) motion attacks the legal sufficiency of the complaint. See FED.

R. CIV. P. 12(b)(6) (“[A] party may assert the following defenses by motion: (6)

failure to state a claim upon which relief can be granted[.]”). The Federal Rules of

Civil Procedure require only that the complaint provide “‘a short and plain statement

of the claim’ that will give the defendant fair notice of what the plaintiff’s claim is

and the grounds upon which it rests.” Conley v. Gibson, 355 U.S. 41, 47, 78 S. Ct. 99,

103, 2 L. Ed. 2d 80 (1957) (footnote omitted) (quoting FED. R. CIV. P. 8(a)(2)),

abrogated by Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556, 127 S. Ct. 1955,

1965, 167 L. Ed. 2d 929 (2007); see also FED. R. CIV. P. 8(a) (setting forth general

pleading requirements for a complaint including providing “a short and plain

statement of the claim showing that the pleader is entitled to relief”).

      While a plaintiff must provide the grounds of his entitlement to relief, Rule 8

does not mandate the inclusion of “detailed factual allegations” within a complaint.

Twombly, 550 U.S. at 555, 127 S. Ct. at 1964 (quoting Conley, 355 U.S. at 47, 78 S.

Ct. at 103). However, at the same time, “it demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662,

678, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009). “[O]nce a claim has been

stated adequately, it may be supported by showing any set of facts consistent with the

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allegations in the complaint.” Twombly, 550 U.S. at 563, 127 S. Ct. at 1969.

       “[A] court considering a motion to dismiss can choose to begin by identifying

pleadings that, because they are no more than conclusions, are not entitled to the

assumption of truth.” Iqbal, 556 U.S. at 679, 129 S. Ct. at 1950. “While legal

conclusions can provide the framework of a complaint, they must be supported by

factual allegations.” Id. “When there are well-pleaded factual allegations, a court

should assume their veracity and then determine whether they plausibly give rise to

an entitlement to relief.” Id. (emphasis added). “Under Twombly’s construction of

Rule 8 . . . [a plaintiff’s] complaint [must] ‘nudge[] [any] claims’ . . . ‘across the line

from conceivable to plausible.’ Ibid.” Iqbal, 556 U.S. at 680, 129 S. Ct. at 1950-51.

       A claim is plausible on its face “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678, 129 S. Ct. at 1949. “The plausibility

standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer

possibility that a defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at

556, 127 S. Ct. at 1965).

III.   ALLEGATIONS IN THE COMPLAINT

       Accordingly to Swann’s Complaint, “[m]ore than 6 years ago, [] Swann fell

behind on paying her bills, including a debt she allegedly owed for a Verizon

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Wireless account.” (Doc. 1 at 3, ¶8). At some later time, JCS purchased the debt.

Then, on September 5, 2017, DRS, in an attempt to collect the debt on behalf of JCS,

sent a letter to Swann which read, in pertinent part:

      We have been asked to contact you by our client, Jefferson Capital
      Systems, LLC, regarding your past due account with them. Our Client
      has not received payment as of the date of this letter. Therefore, the
      account has been placed with our office for collection.

      [1.]   You may resolve your account for $132.89 if payment is received
             before October 20, 2017. We are not obligated to renew this offer.
             Upon receipt and clearance of your payment, this account will be
             considered satisfied and closed, and a satisfaction letter will be
             issued or;

      [2.]   You may resolve your account for $147.65 in 2 payments starting
             on October 20, 2017. To comply with this offer, payments should
             be no more than 30 days apart. We are not obligated to renew this
             offer. Upon receipt and clearance of these two payments of
             $73.83, this account will be considered satisfied and closed, and
             a satisfaction letter will be issued or;

      [3.]   You may resolve your account for $162.42 in 4 payments starting
             on October 20, 2017. To comply with this offer, payments should
             be no more than 30 days apart. We are not obligated to renew this
             offer. Upon receipt and clearance of these four payments of
             $40.60, this account will be considered satisfied and closed, and
             a satisfaction letter will be issued or;

      [4.]   If you are unable to accept the above offer(s), please contact our
             office. We take pride in working with all consumers, regardless
             of your current financial position.

(Doc. 1-2 at 1). The letter also contained at “disclaimer” which stated:



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       The law limits how long you can be sued on a debt. Because of the age
       of your debt Jefferson Capital Systems, LLC will not sue you for it. If
       you do not pay the debt, Jefferson Capital Systems, LLC may report or
       continue to report it to the credit reporting agencies as unpaid. If you
       make a partial payment on this account it may restart the statute of
       limitations on this account.

(Doc. 1-2 at 1).1

       At the time this letter was sent to Swann, the statute of limitations for any civil

action to collect the debt had passed.

IV.    ANALYSIS

       A.      An Overview of the Fair Debt Collection Practices Act

       In 1977, Congress found that there was “abundant evidence of the use of

abusive, deceptive, and unfair debt collection practices by many debt collectors” and

that the “[e]xisting laws . . . [were] inadequate to protect consumers.” 15 U.S.C. §

1692(a), (b); see also 104 AM. JUR. PROOF OF FACTS 3D Proof Under the Fair Debt

Collection Practices Act §1. To respond, Congress passed the Fair Debt Collection

Practices Act “to eliminate abusive debt collection practices by debt collectors, to

insure that those debt collectors who refrain from using abusive debt collection

practices are not competitively disadvantaged, and to promote consistent State action


       1
          The letter is attached to the Complaint. (Doc. 1-2). “[D]ocuments attached to a
complaint or incorporated in the complaint by reference can generally be considered by a federal
court in ruling on a motion to dismiss under Rule 12(b)(6).” Saunders v. Duke, 766 F.3d 1262,
1270 (11th Cir. 2014).

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to protect consumers against debt collection abuses.” 15 U.S.C. §1692(e).

       “To assert a claim under the FDCPA, a plaintiff must establish the following

elements: ‘(1) the plaintiff has been the object of collection activity arising from

consumer debt, (2) the defendant is a debt collector as defined by the FDCPA, and (3)

the defendant has engaged in an act or omission prohibited by the FDCPA.’”

Buckentin v. Sun Trust Mortg. Corp., 928 F. Supp. 2d 1273, 1294 (N.D. Ala. 2013)

(Proctor, J.) (citing sources).

       The FDCPA prohibits certain conduct. “Section 1692e of the FDCPA provides

that ‘[a] debt collector may not use any false, deceptive, or misleading representation

or means in connection with the collection of any debt.’” Crawford v. LVNV Funding,

LLC, 758 F.3d 1254, 1258 (11th Cir. 2014) (quoting 15 U.S.C. § 1692e). The statute

goes on to give examples of specific conduct that violates the act. See 15 U.S.C. §

1692e (1)-(16). “Section 1692f states that ‘[a] debt collector may not use unfair or

unconscionable means to collect or attempt to collect any debt.’” Crawford, 758 F.3d

at 1258 (quoting 15 U.S.C. § 1692f). Similarly, this section also gives specific

examples of conduct violating the law. See 15 U.S.C. § 1692f(1)-(8).2 “To enforce the

       2
          It is crucial for the reader to understand that Swann brought her action under §1692e and
§1692f. (Doc. 1 at 4-6). The plain text of §1692e is very broad and makes clear that the examples
of violations under that section are not meant to “limit[ ] the general application” that “[a] debt
collector may not use any false, deceptive, or misleading representation or means in connection
with the collection of any debt.” See 15. U.S.C. §1692e. While Swann also mentions
§1692e(2)(A) and §1692e(5) in her Complaint, mentioning those specific provisions does not

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FDCPA's prohibitions, Congress equipped consumer debtors with a private right of

action, rendering ‘debt collectors who violate the Act liable for actual damages,

statutory damages up to $1,000, and reasonable attorney's fees and costs.’” Crawford,

758 F.3d at 1258 (citing sources).

       To understand actions under the FDCPA requires knowing the “least

sophisticated consumer.” See LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1193

(11th Cir. 2010). This is because “[t]he inquiry is not whether the particular

plaintiff-consumer was deceived or misled; instead, the question is ‘whether the ‘least

sophisticated consumer’ would have been deceived’ by the debt collector's conduct.”

Crawford, 758 F.3d at 1258. “The ‘least-sophisticated consumer’ standard is

consistent with basic consumer-protection principles.” LeBlanc, 601 F.3d at 1194

(citing sources). “‘The least sophisticated consumer’ can be presumed to possess a

rudimentary amount of information about the world and a willingness to read a

collection notice with some care.” Id. (quoting another source) (internal quotation

marks omitted). “However, the test has an objective component in that ‘[w]hile

protecting naive consumers, the standard also prevents liability for bizarre or

idiosyncratic interpretations of collection notices by preserving a quotient of


detract from the overall prohibition mentioned in §1692e. (See Doc. 1 at 5). Accordingly, this
Court would err if it focused on only one provision while ignoring the rest of the section. §1692f
has a similar construction to §1692e. 15 U.S.C. §1692f.

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reasonableness.’” Id. (quoting another source).

      “Generally, ‘whether the 'least sophisticated consumer' would construe [the

conduct] as deceptive is a question for the jury.’” Miljkovic v. Shafritz & Dinkin, P.A.,

791 F.3d 1291, 1307 n.11 (11th Cir. 2015) (quoting Jeter v. Credit Bureau, 760 F.2d

1168, 1178 (11th Cir. 1985)); see also Buchanan v. Northland Group, Inc., 776 F.3d

393, 397 (6th Cir. 2015) (noting that in most cases “whether a letter is misleading

raises a question of fact”). “Courts do not lightly reject fact-based claims at the

pleading stage.” Buchanan, 776 F.3d at 397. “[This Court] may do so only after

drawing all reasonable inferences from the allegations in the complaint in the

plaintiff's favor and only after concluding that, even then, the complaint still fails to

allege a plausible theory of relief.” Id. (citing FED.R.CIV.P. 12(b)(6); Ashcroft v.

Iqbal, 556 U.S. 662, 677–79 (2009)).

      B.     The Liability of JCS

      As noted above, each of the Defendants can be liable for a violation of the

FDCPA only if they are “debt collectors” as defined by the FDCPA. Buckentin, 928

F. Supp. 2d at 1294. The Complaint affirmatively alleges that JCS “was acting as a

debt collector.” (Doc. 1 at 1, ¶5). The statute defines the term “debt collector” as

“any person . . . who regularly collects . . . debts . . . owed or due another.” 15

U.S.C.A. § 1692a(6). Fairly recently, a unanimous Supreme Court held that a

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purchaser of a defaulted debt, like JCS, who tries to collect it for itself, is not a debt

collector under the Act. See, Henson v. Santander Consumer USA Inc., 137 S. Ct.

1718, 1721, 198 L. Ed. 2d 177 (2017) (“[T]he Act defines debt collectors to include

those who regularly seek to collect debts ‘owed ... another.’ And by its plain terms

this language seems to focus our attention on third party collection agents working

for a debt owner—not on a debt owner seeking to collect debts for itself. Neither does

this language appear to suggest that we should care how a debt owner came to be a

debt owner—whether the owner originated the debt or came by it only through a later

purchase.”). However, this issue was not raised by the parties, and the Supreme

Court’s opinion in Henson did not address “related” ways in which JCS might still

qualify as a debt collector under the Act.3 Accordingly, and in light of the fact that the

Complaint alleges that JCS “was acting as a debt collector” (doc. 1 at 1, ¶5), the Court

will not hold, at this time, that JCS is not a debt collector.

       That being said, Swann’s allegations all stem from a letter sent by DRS. Other

than conclusory statements regarding the “defendants” unlawful conduct, the

Complaint contains no facts which plausibly establish that JCS did anything wrong.

       3
          In Henson, the Supreme Court noted “two related questions we do not attempt to answer
today, including whether an entity “can qualify as a debt collector not only because it regularly
seeks to collect for its own account debts that it has purchased, but also because it regularly acts
as a third party collection agent for debts owed to others,” and “another statutory definition of the
term ‘debt collector’—one that encompasses those engaged ‘in any business the principal
purpose of which is the collection of any debts.’ § 1692a(6).” Henson, 137 S. Ct. at 1721.

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Again, however, this point was not raised by the parties. Accordingly, if the Court

were to dismiss JCS on this basis, it would be doing so sua sponte. “A district court

abuses its discretion when it dismisses an action sua sponte without ‘provid[ing] the

plaintiff with notice of its intent to dismiss or an opportunity to respond,’ unless

amendment ‘would be futile’ or ‘the complaint is patently frivolous.’” Brinson v.

Welsh, 709 F. App'x 582, 584 (11th Cir. 2017) (quoting Tazoe v. Airbus S.A.S., 631

F.3d 1321, 1335 (11th Cir. 2011) and Surtain v. Hamlin Terrace Found., 789 F.3d

1239, 1248 (11th Cir. 2015)). In light of this standard, the Court will not dismiss JCS

on these grounds, at this time.

      C.     The Liability for the Representations in the Letter from DRS

      In both counts of her Complaint Swann alleges that

      [a]lthough Defendants attempted to provide a disclaimer that the debt
      was time-barred, that disclaimer was ineffective because: a) they failed
      to foreclose the possibility that DRS would/could not sue on the debt;
      b) they failed to foreclose that [JCS] could not legally sue, rather than
      that [JCS] had simply chosen not to do so; c) they falsely claimed that
      payment would result in benefits.”

(Doc. 1 at 5, ¶18; doc. 1 at 6, ¶23) (emphasis added). In the next paragraph of each

count, Swann states that “[t]hese” are “materially false or misleading statements”

(Count One) and “materially unfair or unconscionable means” (Count Two) which

“would lead any consumer to believe that they had to pay this debt to avoid being



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sued, credit reported or having to pay the full amount at some point in the future[.]”

(Doc. 1 at 5, ¶19; doc. 1 at 6, ¶24) (emphasis added). For these reasons, Swann

contends that the letter violated sections 1692e (Count One) and 1692f (Count Two)

of the FDCPA. The Court will address each part of the Plaintiff’s claims in turn.

             1.    Both Counts of the Complaint Are Due To Be Dismissed to the
                   Extent They Are Based on the Threat of Negative Credit
                   Reporting

      The Court agrees that the letter in question clearly states that if Swann does not

make the payments requested, JCS “may report or continue to report” negative

information about her to credit reporting agencies. (Doc. 1-2 at 1). However, no facts

are alleged in the Complaint which plausibly establish that that statement was “false

of misleading” or “unfair or unconscionable.” Furthermore, Swann does not argue in

her brief how this language violates the FDCPA. See, Hamilton v. Midland Credit

Mgmt., Inc., No. 16CV2273-WQH-NLS, 2017 WL 3705814, at *4 (S.D. Cal. Aug.

28, 2017) (Hayes, J.) (identical language was not a violation where is was “factually

correct”); Olsen v. Cavalry Portfolio Servs., LLC, No. 8:15-CV-2520-T-23AAS, 2016

WL 4248009, at *2 (M.D. Fla. Aug. 11, 2016) (Merryday, J.), appeal dismissed, No.

16-16680-BB, 2017 WL 5127323 (11th Cir. Apr. 12, 2017) (no FDCPA violation

where plaintiff failed to allege how the statement that the defendant “will continue

to report” renders the collection letters false or deceptive). Counts One and Two will

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be dismissed to the extent that they allege a violation of the FDCPA based on a threat

of reporting the debt as unpaid.

             2.     Count One Is Due To Be Dismissed to the Extent It Is Based on
                    the Threat of Being Sued

                    a.     The Complaint Contains No Facts or Allegations
                           Setting Out Which Portion of the Letter Threatens
                           Litigation

      Swann’s claim arises in part out of the fact that the statute of limitations has

run on the debt. This Court recently confirmed that “a debt collector can attempt to

get a debtor to pay a debt that is time-barred.” McCamey v. Capital Mgmt., Servs., LP,

No. 5:17-CV-1429-UJH-VEH, 2018 WL 3819828, at *5 (N.D. Ala. Aug. 10, 2018)

(Hopkins, J.) (and cases cited therein). “Of course, this effort must be consistent with

the FDCPA.” McCamey, 2018 WL 3819828, at *5. It is clear that a debt collector's

threatening to sue on a time-barred debt violates §§ 1692e and 1692f. Crawford v.

LVNV Funding, LLC, 758 F.3d 1254, 1259 (11th Cir. 2014). Of course, the letter in

question does not explicitly threaten litigation. It may still violate the FDCPA,

however, if it is otherwise prohibited by the Act. McCamey, 2018 WL 3819828, at

*7 (“The Court holds that a letter attempting to collect a time-barred debt can violate

the FDCPA, even if it does not expressly threaten litigation, if it is otherwise

prohibited by the FDCPA.”).



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        Swann’s claim focuses on the disclaimer, which expressly states that she will

not be sued, by saying that it is “ineffective.” The Plaintiff misses the point. There is

no rule that disclaimer is required in a letter attempting to collect on a time-barred

debt. See, McCamey, 2018 WL 3819828, at *8. Disclaimers are included to offset

other language in the letter which may, at least impliedly, threaten litigation. The

Plaintiff has put the proverbial “cart before the horse” by assuming, without asserting

facts, or even an allegation, that the letter threatens litigation.4 Without that

allegation, the Plaintiff’s claims are due to be dismissed to the extent that they are

based on the improper threat of suit.

                       b.     The Plaintiff May Not Amend Her Complaint By
                              Alleging Offending Portions of the Letter in Her Brief
                              in Opposition to the Motion To Dismiss

       In several places, the letter states that Swann “may resolve [her] account” and

states that “[u]pon receipt and clearance of [the total payment]5, this account will be

considered satisfied and closed, and a satisfaction letter will be issued[.]” (Doc. 1-2

at 1). The Plaintiff argues in her brief that the least sophisticated consumer would


       4
         The Defendants do move to dismiss on this point, writing: “[The] Plaintiff fails to
identify any language that constitutes a misrepresentation or a threat to take action that cannot be
taken or that is not intended to be taken. . . . Despite generally claiming Defendants’ actions were
unfair or unconscionable, [the] Plaintiff fails to identify any specific actions that can reasonably
be considered unfair or unconscionable.” (Doc. 16 at 7-8).
       5
         As noted previously, DRS offered Swann the option of making one payment of $132.89,
paying a total of 147.65 in 2 payments, or paying a total of $162.42 in 4 payments.

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understand the use of the “resolve” and “satisfaction” terminology to be a threat of

litigation. However, these allegations appear nowhere in the Complaint6, and Swann

cannot amend her Complaint through a brief in opposition to the Motion To Dismiss.

Huls v. Llabona, 437 F. App'x 830, 832 n. 5 (11th Cir. 2011) (citing Gilmour v.

Gates, McDonald & Co., 382 F.3d 1312, 1315 (11th Cir.2004)).

                        c.     The “Resolve” and “Satisfaction” Language in the
                               Letter Would Not Lead the Least Sophisticated
                               Consumer To Believe that She Would Be Sued If She
                               Did Not Pay the Debt

       Assuming the Complaint had alleged that the resolve and satisfaction language

was problematic, the Plaintiff’s claims based on that language would still fail.

                               (1)    The “Resolve” Language in the Letter Does Not
                                      Violate the FDCPA

       Swann first argues that the word “resolve” would lead the least sophisticated

consumer to believe that she might be sued if she did not pay the debt. (Doc. 21 at 10-

       6
           The Complaint does not quote or mention the word “resolve” at all. The Complaint does
say:

       DRS [sent] Ms. Swann an initial form collection letter, dated September 5, 2017,
       demanding payment of the Verizon Wireless debt, via various limited-time
       settlement offers, the satisfaction of which would result in the account being
       “considered satisfied and closed” and would result in the issuance of a
       “satisfaction letter”.

(Doc. 1 at 3, ¶8) (emphasis added). However, nowhere in the Complaint does the Plaintiff state
that this language explicitly or implicitly threatened litigation. Rather, this “satisfaction”
language is the basis of her claim that DRS was promoting a non-existent “benefit” to payment.
(Doc. 1 at 4, ¶11).

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12). The Plaintiff correctly argues7, and this Court has noted, that generally whether

the least sophisticated consumer would construe the letter as deceptive is a jury

question. Miljkovic, 791 F.3d at 1307 n.11. However, dismissal is appropriate if “after

drawing all reasonable inferences from the allegations in the complaint in the

plaintiff's favor” this Court concludes that “even then, the complaint still fails to

allege a plausible theory of relief.” Buchanan, 776 F.3d at 397.

      “[A] collection notice is deceptive when it can be reasonably read to have two

or more different meanings, one of which is inaccurate.” Russell v. Equifax A.R.S., 74

F.3d 30, 35 (2d Cir. 1996). “To truly pass muster under § 1692e, a debt collector’s

statement must not only be true, it must also avoid ambiguity[.]” Ponce v. BCA Fin.

Serv., Inc., No. 10-CV-20337, 2011 WL 13175624, at *11 (S.D. Fla. May 25, 2011)

(Gold, J.) (quoting Russell, 74 F.3d at 35) , amended sub nom. Ponce v. BCA Fin.

Servs., Inc., No. 10-CV-20337, 2011 WL 13175534 (S.D. Fla. July 18, 2011), aff'd,

467 F. App'x 806 (11th Cir. 2012), and aff'd, 467 F. App'x 806 (11th Cir. 2012).

Thus, as noted by the Plaintiff, the question before the Court is whether there are two

reasonable readings of the word “resolve” in this case, one of which is untrue, thus

creating a question of fact. McCamey, 2018 WL 3819828, at *7.

      In their arguments, the parties refer extensively to this Court’s recent opinion


      7
          See doc. 21 at 3, 7-8, 14, 20.

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in McCamey, 2018 WL 3819828. In that case, this Court dealt with this same issue

where the letter in question used the word “settlement” as opposed to “resolve”

writing:

             This Court has often advised litigants that their word choice
      matters because every word has meaning, connotations, and
      implications. Here, the primary focus is on the use of the word
      “settlement.” (See Doc. 1-1 at 1, 2). The February 12, 2017, letter uses
      the word “settlement.” (See id. at 1). Similarly, the May 6, 2017, letter
      describes a “SETTLEMENT OFFER” and uses the word “settlement”
      throughout the letter. (See id. at 2) (“[CMS] is willing to accept less than
      the full balance due as a settlement.”); (id.) (“You may send the
      settlement payment to [CMS].”).

            Judge Sutton capably explained why this term could be
      misleading in the Buchanan decision:

            [A] “settlement offer” with respect to a time-barred debt
            may falsely imply that payment could be compelled
            through litigation. Formal and informal dictionaries alike
            contain a definition of “settle” that refers to concluding a
            lawsuit. On the formal side, one defines the verb as “to
            conclude (a lawsuit) by agreement between the parties
            usu[ally] out of court.” Webster's Third New International
            Dictionary 2079 (2002). Another defines it as “[t]o decide
            (a case) by arrangement between the contesting parties.”
            OED Online, Oxford University Press (September 2014),
            http://goo.gl/yd1KF6. A third defines “settlement” as “[t]he
            resolution of a lawsuit or dispute by settling.” The
            American Heritage Dictionary of the English Language
            (5th ed.2014), available at http://goo.gl/dPSCMH. On the
            informal side, Wiktionary defines “settlement agreement”
            as “[a] contractual agreement between parties to actual or
            potential litigation by which each party agrees to a
            resolution of the underlying dispute.” See

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      http://goo.gl/00xE9s.[ ]And[ ]Dictionary.com defines
      “settle” as “to terminate (legal proceedings) by mutual
      consent of the parties.” See http://goo.gl/vOmoty. Perhaps
      the best definition, one that accounts for the various ways
      an everyman individual might read the terms, appears
      oddly enough in Black's Law Dictionary. It acknowledges
      that the word is one of “equivocal meaning,” “meaning
      different things in different connections, and the particular
      sense in which it is used may be explained by the context
      or surrounding circumstances.” Black's Law Dictionary
      1372 (6th ed.1990). All of these definitions make it
      plausible to allege that a “settlement offer” falsely implies
      that the underlying debt is enforceable in court.

Buchanan, 776 F.3d at 399. The aforementioned passage is particularly
persuasive, and the Court adopts that reasoning here. The Seventh
Circuit has noted similar implications from “settlement” terminology:

      If a consumer received an “offer for settlement” and
      searched on Google to see what is meant by “settlement,”
      she might find the Wikipedia entry for “settlement offer.”
      Settlement offer, Wikipedia, (Mar. 10, 2014 at 4:06 pm),
      http://en.wikipedia.org/wiki/Settlement_offer. There she
      would learn that the term “offer to settle” is “used in a civil
      lawsuit to describe a communication from one party to the
      other suggesting a settlement—an agreement to end the
      lawsuit before a judgment is rendered.”

[McMahon v. LVNV Funding, LLC, 744 F.3d 1010, 1021 (7th Cir.
2014)]. The least sophisticated consumer does not have a law degree. It
is objectively reasonable for such a consumer, upon receiving a letter
with “settlement offer” to start wondering about legal exposure.

       The Court is not saying that anytime a debt collection letter uses
the word “settlement” that it is misleading a debtor, or otherwise
violating the FDCPA. See [Tatis v. Allied Interstate, LLC, 882 F.3d 422,
429–30 (3d Cir. 2018)]. Far from it. In fact, one definition of

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“settlement” is: “payment or adjustment of an account.” Merriam
Webster's Collegiate Dictionary 1069 (2000); see also Tatis, 882 F.3d
at 429-30 (discussing the different meanings of “settle”).

        Defendants urge the Court to follow the lead of the Third and
Eighth Circuits. (See Doc. 32 at 9-11) (citing [Freyermuth v. Credit
Bureau Servs., Inc., 248 F.3d 767 (8th Cir. 2001); Huertas v. Galaxy
Asset Mgmt., 641 F.3d 28 (3d Cir. 2011)]). In Freyermuth, the Eighth
Circuit “[held] that, in the absence of a threat of litigation or actual
litigation, no violation of the FDCPA has occurred when a debt collector
attempts to collect on a potentially time-barred debt that is otherwise
valid.” Freyermuth, 248 F.3d at 771. However, the holding from
Freyermuth is linked to the theories actually litigated by the parties. By
way of example, under § 1692e there are about sixteen ways in which
the FDCPA can be violated. See 15 U.S.C. § 1692e. For example, even
if a debt collector did not threaten litigation on a time-barred claim, this
Court assumes that it could still be liable for “[t]he false representation
or implication that any individual is an attorney.” See 15 U.S.C. §
1692e(3). The Freyermuth holding should not be stretched too far.

       Defendants also point to the Third Circuit in Huertas. . ..
However, seven years later, the Third Circuit revisited and further
explained Huertas in Tatis. See Tatis, 882 F.3d at 427-28 (explaining
what Huertas meant). Tatis recognized the limitations of the Huertas
decision. See id. at 428 (“Thus, Huertas stands for the proposition that
debt collectors do not violate 15 U.S.C. § 1692e(2)(A) when they seek
voluntary repayment of stale debts, so long as they do not threaten or
take legal action. But the FDCPA sweeps far more broadly than the
specific provision found in § 1692e(2)(A). It prohibits ‘any false,
deceptive, or misleading representation’ associated with debt-collection
practices. 15 U.S.C. § 1692e (emphasis added).”) (emphasis by
underlining added). Tatis went on to say that “construing the Act to
require a threat of legal action for any FDCPA violation interposes a
mandate that is not found in its text.” See id. at 429 (citing McMahon,
744 F.3d at 1020-21). Accordingly, Tatis speaks more clearly to the
question before the Court.



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              . . . The least sophisticated consumer could see the settlement
       terminology throughout the letter and be under the impression that his
       debt was legally enforceable. This reasonable impression could make the
       least sophisticated consumer more likely to pay money on a debt that
       was legally unenforceable.

McCamey, 2018 WL 3819828, at *5–7.

       Relying on McCamey, Swann calls the word “resolve” “settlement language,”

and states that “[l]ike ‘settle,’ the word “resolve can be misleading, pointing to

definitions of the word “resolve” to mean to “‘settle or find a solution to (a problem,

dispute,       or   contentious        matter).’”       (Doc.      21     at    11)     (quoting

https://www.google.com/search?q=Dictionary#dobs=resolve&spf=1540304151168);

(doc. 21 at 11 , n. 4) (citing https://en.oxforddictionaries.com/definition/resolve). She

later says that “the terms ‘settle’ and ‘resolve’ are nearly identical in meaning,” and

“‘[r]esolve’ and ‘settle’ mean the same thing.” (Doc. 21 at 10, 12). The Court

disagrees.8

       8
          The Plaintiff correctly notes that “the appellate court cases Ms. Swann cites in her
Complaint clearly hold that the use of deceptive or misleading collection letters to collect time-
barred debts violates the FDCPA.” (Doc. 21 at 8) (citing Tatis, 882 F.3d 422; Pantoja v.
Portfolio Recovery Assocs., LLC, 852 F.3d 679, 685 (7th Cir. 2017), cert. denied, 138 S. Ct. 736,
199 L. Ed. 2d 604 (2018) (“[W]e believe the FDCPA prohibits a debt collector from luring
debtors away from the shelter of the statute of limitations without providing an unambiguous
warning that an unsophisticated consumer would understand.”); McMahon, 744 F.3d 1010;
Daugherty v. Convergent Outsourcing, Inc., 836 F.3d 507, 513 (5th Cir. 2016) (“[A] collection
letter seeking payment on a time-barred debt (without disclosing its unenforceability) but
offering a ‘settlement’ and inviting partial payment (without disclosing the possible pitfalls)
could constitute a violation of the FDCPA.”); Buchanan, 776 F.3d 393. However, the Defendants
correctly argue that these cases are only persuasive authority and are factually distinguishable. As
recently noted by Judge Axon of this district:

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      In Buchanan, Judge Sutton noted that “[f]ormal and informal dictionaries alike

contain a definition of ‘settle’ that refers to concluding a lawsuit.” Buchanan, 776

F.3d at 399 (emphasis added). None of the definitions cited by Swann reference

litigation, much less concluding a lawsuit. Further, an examination of the other

sources referenced by Judge Sutton in Buchanin produces the same result. See,

W e b s t e r ’ s                   D i c t i o n a r y                      O n l i n e ,

https://www.merriam-webster.com/dictionary/resolve?src=search-dict-hed (“to deal

with successfully: clear up,” “to find an answer to”); The American Heritage

Dictionary, https://ahdictionary.com/word/search.html?q=resolve (“[t]o find a

solution to; solve: resolved the problem;” “[t]o bring to a usually successful

conclusion: resolve a conflict”); Wiktionary, https://en.wiktionary.org/wiki/resolve

(“[t]o find a solution to (a problem);” “[t]o come to an agreement or make peace;


              In each of those cases, a debt collector sent a collection letter to a debtor
      offering to “settle” a time-barred debt. Tatis, 882 F.3d at 425; Pantoja, 852 F.3d
      at 682; Daugherty, 836 F.3d at 511; Buchanan, 776 F.3d at 395, 399; McMahon,
      744 F.3d at 1013–14. And in each of the cases, the Court of Appeals held that,
      depending on the circumstances of the case, the offer to “settle” a time-barred
      debt could cause an unsophisticated consumer to believe that the debt collector
      had the ability to sue to collect the debt, constituting a false or misleading
      statement about the legal status of the debt. Tatis, 882 F.3d at 430; Pantoja, 852
      F.3d at 683, 687; Daugherty, 836 F.3d at 511; Buchanan, 776 F.3d at 395, 399;
      McMahon, 744 F.3d at 1020.
                                                ***
              But in this case, the collection letters say nothing about “settlement.”

Trichell v. Midland Credit Mgmt., Inc., No. 4:18-CV-00132-ACA, 2018 WL 4184570, at *3–4
(N.D. Ala. Aug. 31, 2018) (Axon, J.), appeal pending.

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patch up relationship, settle differences, bury the hatchet. After two weeks of

bickering, they finally resolved their differences.”).

       Swann also refers to the Wikipedia entry for “Dispute Resolution,” words

which were not used in the letter in question. (See doc. 21 at 11) (citing

https://en.wikipedia.org/wiki/Dispute_resolution). That definition refers to and

discusses litigation extensively. Of course, the letter in the instant case did not use

“dispute resolution,” it used “resolve.” Accordingly, the Court does not find this

argument persuasive.

       Furthermore, the Court is persuaded by the Third Circuit’s opinion in Tatis,

referenced by this Court in McCamey, which held that “[b]ecause the words

‘settlement’ and ‘settlement offer’ could connote litigation, the least-sophisticated

debtor could be misled into thinking [the debt collector] could legally enforce the

debt.” Tatis, 882 F.3d at 430. Importantly, in Tatis, the Third Circuit distinguished

its previous decision in Huerta which “analyz[ed] a letter using the more general verb

‘to resolve.’” Id. at 430 (distinguishing Huertas, 641 F.3d at 33).9 In this case, it is not

       9
           The court in Huertas wrote:

       AMP's letter indicates that Huertas's account has been reassigned, requests that
       Huertas call “to resolve this issue,” includes a privacy notice informing him that
       Galaxy would be accessing his private consumer information, and, as required by
       15 U.S.C. § 1692g(a), indicates that, if Huertas does not dispute the debt within
       thirty days of receiving the letter, AMP will assume the debt is valid. At the
       bottom, the letter states, in bold, capital letters, “THIS IS AN ATTEMPT TO

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plausible that the least sophisticated consumer would be deceived by the use of the

word “resolve” in this context.

                              (2)     The “Satisfaction” Language Did Not Imply the
                                      Threat of Litigation

        In her brief, Swann argues that “

        Like “settle” and “resolve,” the term “satisfaction” can be misleading in
        the context of a time-barred debt. Again, if a consumer searched on
        Google to see what is meant by “satisfaction”, an entry defines it as “the
        payment of a debt or fulfillment of an obligation or claim.” Moreover,
        the offer to “close”10 the account upon payment clearly implies that the
        debt is still “open”, and not time-barred.

(Doc.        21   at   12-13)       (quoting    https://www.google.com/search?site=

async/dictw&q=Dictionary#dobs=satisfaction). The definition cited by Swann does

not reference litigation or concluding a lawsuit. A similar definition to the one cited

by Swann can be found in the online version of the American Heritage Dictionary

(https://ahdictionary.com/word/search.html?q=satisfaction (“[c]ompensation for

injury or loss; reparation”)), Wiktionary (https://en.wiktionary.org/wiki/satisfaction)

        COLLECT A DEBT.”

                Even the least sophisticated consumer would not understand AMP's letter
        to explicitly or implicitly threaten litigation.

Huertas, 641 F.3d at 33 (record citations omitted).
        10
         The Plaintiff makes no attempt to provide a definition of “close” which supports her
claim. She focuses only on the “satisfaction” language, as does this section of the Court’s
opinion. The Court still notes, and holds, however, that the least sophisticated consumer would
not be deceived by the use of the word “close” in this context.

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( “r e p a r a t i o n   for     an    injury     or   loss”),     and   Dictionary.com

(https://www.dictionary.com/browse/satisfaction) (“reparation or compensation, as

for a wrong or injury”; “payment or discharge, as of a debt or obligation”). This

contrasts sharply with Judge Sutton’s analysis of the formal and informal definitions

of “settlement,” which reference lawsuits.

         That having been said, Webster’s Dictionary, in one entry, defines

“satisfaction”           as    “the   discharge   of   a   legal   obligation   or   claim.”

(https://www.merriam-webster.com/dictionary/satisfaction) (emphasis                  added).

Another definition, contained in the online version of The Oxford Dictionary is “to

place on the record of a court a statement that the payment ordered by it has been duly

made.” (http://www.oed.com/view/Entry/171223?redirectedFrom=satisfaction#eid).

Finally, Black's Law Dictionary Free Online Legal Dictionary 2nd Ed. defines

“satisfaction” as follows:

         The act of satisfying a party by paying what is due to him (as on a
         mortgage, lieu, or contract,) or what is awarded to him, by the judgment
         of a court or otherwise. Thus, a judgment is satisfied by the payment of
         the amount due to the party who has recovered such judgment, or by his
         levying the amount.

(https://thelawdictionary.org/satisfaction/) (emphasis added). Still, none of these

definitions refer to a means of concluding or avoiding a lawsuit. All of them refer

only to payment on a legal debt, order, or judgment already entered, and only the

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latter two mention a “court” at all.

       The Court has found no case addressing the satisfaction language in this

context, but notes that the word “satisfaction,” like the word “resolve,” is more

general than the word “settlement,” and does not carry with it the same litigation

connotations. The Court holds that the least sophisticated consumer would not see the

term “satisfied” or “satisfaction” in the letter as either an explicit or implicit threat of

litigation.

                     d.     Even if the Letter Contained Language Which
                            Plausibly Could Lead the Least Sophisticated
                            Consumer to Believe that She Would Be Sued If She
                            Did Not Pay the Debt, the Disclaimer Language Made
                            It Clear That She Could Not Be Sued

       Assuming that this language could mislead the least sophisticated consumer,

the Court finds that the letter contained “language dispelling that potentially

misleading terminology.” McCamey, 2018 WL 3819828, at *8. The letter contained

the following disclaimer:

       The law limits how long you can be sued on a debt. Because of the age
       of your debt, Jefferson Capital Systems, LLC will not sue you for it. If
       you do not pay the debt, Jefferson Capital Systems, LLC may report or
       continue to report it to the credit reporting agencies as unpaid. If you
       make a partial payment on this account it may restart the statute of
       limitations on this account.

(Doc. 1-2 at 1). Swann argues that this disclaimer language is ineffective to dispel the


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least sophisticated consumer’s notion that she might be sued because: 1) stating that

JCS “will not” sue, rather than it “cannot” sue, improperly implied that JCS had the

option to sue but was simply choosing not to; and 2) failing to state that DRS will not

(or could not) sue left open the possibility, in the mind of the least sophisticated

consumer, that DRS might sue them if the debt was not paid. The Court will address

each contention in turn.

        First, the Court notes that the “will not sue” language is the same language

mandated by consent decrees which have been entered into by the Federal Trade

Commission (the “FTC”) and the Consumer Financial Protection Bureau (“CFPB”).

See, In re Encore Capital Grp., Inc., No. 2015-CFPB-0022, Consent Order, Doc. 1

a   t        3   8   -     3      9    ,       a     v    a   i   l   a   b   l   e     a    t   :

https://files.consumerfinance.gov/f/201509_cfpb_consent-order-encore-capital-gr

oup.pdf;    United       States       of   America       v.   Asset   Acceptance,     LLC,   No.

8:12-cv-00182-JDW-EAJ, doc. 5 at 13 (M.D. Fla. Jan. 31, 2012) (Whittemire, J.).

Referencing these decrees, it has been noted:

        An agency's informal interpretation of a statute, such as opinion letters,
        policy statements, agency manuals, and enforcement guidelines, are not
        entitled to deference. Christensen v. Harris Cnty., 529 U.S. 576, 587,
        120 S.Ct. 1655, 146 L.Ed.2d 621 (2000) (citations omitted). However,
        such interpretations are entitled to respect “to the extent that those
        interpretations have the power to persuade.” Id. (internal quotations and
        citations omitted). The consent decrees do not explain why the CFPB

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       and the FTC chose the specific language that is mandated to be used by
       the decrees. However, the Court does find that the fact that the two
       agencies charged with enforcing the FDCPA mandated the language
       used by the Defendant serves to reinforce its finding that the language
       does not constitute a false representation or a deceptive means of
       collecting the debt.

Valle v. First Nat'l Collection Bureau, Inc., 252 F. Supp. 3d 1332, 1341 (S.D. Fla.

2017) (Scola, J.). The Court agrees with this approach and also holds that this

language is not deceptive.11

       Additionally, the Court is also persuaded by a different approach (reaching the

same result) taken by Judge Axon in Trichell, where she wrote

               In Pantoja, the debt collector sent the debtor a letter “offering to
       settle this account FOR GOOD!” 852 F.3d at 682. At the bottom of the
       letter, the debt collector included the second sentence from the
       disclaimer language: “Because of the age of your debt, we will not sue
       you for it and we will not report it to any credit reporting agency.” Id.
       But the debt collector omitted any sentence indicating that the law limits
       how long a debtor can be sued on a debt. Id. at 686. Based on that
       omission, the Seventh Circuit concluded that “the letter deceptively said
       that [the debt collector] had chosen not to sue [the debtor], rather than
       saying that the debt was so old that [the debt collector] could not sue
       him for the alleged debt,” id. at 683, because “[t]he reader is left to
       wonder whether [the debt collector] has chosen to go easy on this old
       debt out of the goodness of its heart, or perhaps because it might be
       difficult to prove the debt, or perhaps for some other reason,” id. at 686.

              By contrast, in this case, the collection letters include a sentence
       stating that the law limits how long a debtor can be sued on a debt. This


       11
          In McCamey, this Court made reference to the FTC decree in a footnote but did not
opine as to its persuasiveness. McCamey, 2018 WL 3819828 at *9, n. 6.

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      sentence draws a connection between the legal unenforceability of the
      debt and the debt collector’s promise not to sue. Cf. Buchanan, 776 F.3d
      at 400 (suggesting in dicta that including language stating that “[t]he law
      limits how long you can be sued on a debt. Because of the age of your
      debt, [the debt collector] will not sue you for it” would correct “any
      possible misimpression by unsophisticated consumers”). Accordingly,
      unlike in Pantoja, the collection letters here do not deceptively or
      misleadingly imply that the debts are legally enforceable.

Trichell, 2018 WL 4184570, at *4; see also Stimpson v. Midland Credit Mgmt., Inc.,

No. 1:17-CV-00431-BLW, 2018 WL 4643110, at *9 (D. Idaho Sept. 27, 2018)

(Winmill, C.J.) (citing Trichell, and holding that the least sophisticated consumer

would not interpret the “will not sue” language “as a veiled message, telling him that

the debt is not time barred, or that litigation may be forthcoming, if [the creditor] so

chooses.”); Valle v. First Nat'l Collection Bureau, Inc., 252 F. Supp. 3d 1332, 1340

(S.D. Fla. 2017) (Scola, J.) (“Read in the context of the entire paragraph, the phrase

‘will not sue you’ is not false or deceptive, even from the perspective of the least

sophisticated consumer.”). The Court is persuaded by and adopts this reasoning for

its holding that the statement that JCS “will not” sue is not deceptive or misleading.

      A similar analysis must be done when examining the Plaintiff’s allegation that

the disclaimer should have also stated that DRS, in addition to JCS, will not sue her.

Before doing so, the court notes again that “[t]he least sophisticated consumer can be

presumed to possess a rudimentary amount of information about the world and a



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willingness to read a collection notice with some care.” See McCamey, 2018 WL

3819828, at *3 (internal quotations and citations omitted). She “isn't a dimwit,” and

is “capable of making basic logical deductions and inferences.” Wahl v. Midland

Credit Mgmt., Inc., 556 F.3d 643, 645 (7th Cir. 2009) (internal quotations and

citations omitted).

      With those basic rules in mind, the fact that the disclaimer only states that JCS

will not sue must be read in conjunction with the letter’s language regarding who

owns the debt, and thus the right to sue. The letter states that DRS has “been asked

to contact you by our client, Jefferson Capital Systems, LLC, regarding your past due

account with them” because “Our Client has not received payment.” (Doc. 1-2 at 1)

(emphasis added). The disclaimer is clear that JCS, the owner of the account, will not

sue because of the age of the debt, but that JCS “may report or continue to report [the

debt] to the credit reporting agencies as unpaid.” (Doc. 1-2 at 1). Nothing about this

letter suggests that DRS owns the debt, or will (or has the right to) take any action in

any way against Swann if the debt owed to JCS is not paid. When read as whole, the

letter is clear, and common sense dictates, that the right to enforce and collect on the

debt, if it exists at all, exists only with JCS. On top of that, basic logic dictates that

since JCS cannot sue “because of the age of the debt,” DRS cannot either. Any other

reading would be a “bizarre or idiosyncratic interpretation[]” which the objective

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component of the FDCPA protects against. LeBlanc v. Unifund CCR Partners, 601

F.3d 1185, 1194 (11th Cir. 2010). Furthermore, Swann has not produced, and this

Court has not found, a single case which holds that it is deceptive to fail to state that

a non-owner of the debt also will not sue. The Court holds that the least sophisticated

consumer would not read this language as implying that DRS could sue when JCS

could not.

              3.      Count One Is Due to Be Dismissed to the Extent It Is Based on
                      the Allegation that the “Satisfaction” Language Falsely Implied
                      a Benefit to Repayment

       In her Complaint, Swann references the letter’s language stating that, upon

receipt of payment, the account would be “satisfied and closed, and a satisfaction

letter will be issued,” and claims that this was a false claim “that payment would

result in benefits.” (Doc. 1 at 4, ¶11) (“Moreover, there is no benefit to the consumer

to have the account marked as ‘satisfied’, nor any benefit in getting a ‘satisfaction’

letter.”). Swann fails to make any substantial argument on this point in her brief,

except the conclusory statement that “Ms. Swann’s payment or ‘satisfaction’ of the

debt would not benefit her in any way.” (Doc. 21 at 5; see also, doc. 21 at 18 (stating

that payment “would result in the alleged benefit of receiving a letter of

‘satisfaction’.”)).

       First, it is clear that “conclusory allegations . . . are not entitled to an

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assumption of truth-legal conclusions must be supported by factual allegations.”

Randall v. Scott, 610 F.3d 701, 709–10 (11th Cir. 2010). Regardless, assuming that

the “satisfaction” language implied a benefit to Swann, it was not a false

representation because there is a benefit to paying. As noted by the Defendants (see

doc. 16 at 22-23), and this Court above, the Defendants may properly, and legally,

continue to be report Swann’s debt to credit bureaus as unpaid, unless it is satisfied.

Accordingly, there is a benefit to the Plaintiff in “satisfying” the debt. Too, having

satisfied her debt, Swann might consider her “moral obligation” to repay also

satisfied. See McMahon, 744 F.3d at 1020 (“[S]ome people might consider full debt

re-payment a moral obligation, even though the legal remedy for the debt has been

extinguished.”); Trichell, 2018 WL 4184570, at *4 (“[I]t is not deceptive or

misleading to list ‘benefits’ of paying the time-barred debt, because ‘some people

might consider full debt re-payment a moral obligation, even though the legal remedy

for the debt has been extinguished.’”) (quoting McMahon, 744 F.3d at 1020).

Assuming that the “satisfaction” language could be read to imply a benefit to

repayment, the letter did not violated the FDCPA.

             4.     Count Two Is Due To Be Dismissed Because Count One Is Due
                    To Be Dismissed

      The Eleventh Circuit has indicated that a plaintiff cannot succeed on a section



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1692f claim if it is based on the same facts as a failed 1692e claim. LeBlanc v.

Unifund CCR Partners, 601 F.3d 1185, 1200 n. 31 (11th Cir. 2010) (find it

“doubtful” that conduct not found to violate § 1692e(5) could be perceived as unfair

and unconscionable); see also, Miljkovic v. Shafritz & Dinkin, P.A., 791 F.3d 1291,

1308 (11th Cir. 2015) (citing and quoting LeBlanc and noting that “Appellant fails

to specifically identify how Appellees' conduct here was either unfair or

unconscionable in addition to being abusive, deceptive, or misleading.”) (emphasis

in original); Trichell, 2018 WL 4184570 at *5 (“The court agrees that where both

claims are based on the same facts, the failure to state a claim under § 1692e means

that the plaintiff has also failed to state a claim under § 1692f.”). This Court also

finds that where, as in this case, the Plaintiff’s claims fail to state a claim under

section 1692e, they also fail to state a claim under section 1692f when based on the

same conduct. Count Two will be dismissed.

V.    CONCLUSION

      For the reasons stated herein, the Motion will be GRANTED, and this case

will be DISMISSED with prejudice. A separate Final Order will be entered.




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DONE this 28th day of November, 2018.



                            VIRGINIA EMERSON HOPKINS
                            Senior United States District Judge




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